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                           IN THE UNITED STATES DISTRICT
                          COURT FOR THE WESTERN DISTRICT
                              OF TEXAS AUSTIN DIVISION

                                                )
 GOSECURE, INC.                                 )
                                                )
 Plaintiff,                                     )
                                                )      Case No. 24-cv-526
                        v.                      )
                                                )
 CROWDSTRIKE, INC., and                                JURY TRIAL DEMANDED
                                                )
 CROWDSTRIKE HOLDINGS, INC.
                                                )
 Defendants.                                    )
                                                )

                                         COMPLAINT

        Plaintiff GoSecure, Inc. (“GoSecure” or “Plaintiff”) brings this patent infringement action

against Defendants CrowdStrike, Inc. and CrowdStrike Holdings, Inc. (“CrowdStrike” or

“Defendants”).

        GoSecure began developing innovative behavioral analysis techniques that would become

foundational to end-point detection and response information security solutions by no later than

2009, and began seeking patent protection. When GoSecure began seeking patent protection for

its inventions, CrowdStrike did not exist. Its founders—Mr. Dmitri Alperovitch and Mr. George

Kurtz—each received detailed technical information about GoSecure’s patented technology before

founding CrowdStrike. Mr. Alperovitch even joined GoSecure’s Board of Directors, where he

convinced GoSecure to hire one of his acquaintances as a senior engineer, only to hire that same

engineer to join CrowdStrike a few months later. In the decade-plus since then, CrowdStrike has

used GoSecure’s patented technology to generate tens of billions of dollars in revenue at

GoSecure’s expense.




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                                  NATURE OF THE ACTION

       1.      This is a civil action for infringement of United States Patent Nos. 9,954,872 (“’872

Patent”) and 9,106,697 (“’697 Patent”) (collectively, the “Asserted Patents”) under the patent laws

of the United States, 35 U.S.C. § 1 et seq.

                                          THE PARTIES

       2.      Plaintiff GoSecure, Inc. is a corporation organized and existing under the laws of

the State of Delaware with its principal place of business located at 13220 Evening Creek Dr. S,

Suite 107, San Diego, CA 92128. GoSecure has employees located throughout the United States

and Canada, including in Austin, Boston, Montreal, and San Diego.

       3.      GoSecure is the owner of all rights, title, and interest in and to the Asserted Patents.

GoSecure has launched multiple cybersecurity products incorporating its patented technology,

including, for example, the GoSecure Titan® Platform. 1 GoSecure provides its products to

customers who operate throughout the United States and Canada, including within this District.

       4.      On information and belief, Defendant CrowdStrike Holdings, Inc. is a “Delaware

corporation with its principal executive office in Austin.”2 For example, CrowdStrike Holdings,

Inc.’s “principal executive offices occupy approximately 47,618 square feet in Austin, Texas.”3




1
 See, e.g., https://gosecure.ai/wp-content/uploads/GoSecure_Datasheet_Titan-Platform-
_2024.pdf (last visited May 15, 2024).
2
 See, e.g., Webroot, Inc. v. CrowdStrike, Inc., Case No. 6:22-cv-00241, Dkt. 59 at 2 (W.D. Tex.
Sept. 7, 2022); see also https://www.crowdstrike.com/blog/crowdstrike-changes-principal-
executive-office-to-austin-texas/ (last visited May 15, 2024).
3
 See https://ir.crowdstrike.com/static-files/29e71f45-3c39-4c2c-9159-5e7bb9f3315b
(CrowdStrike U.S. Securities and Exchange Commission Form 10-K for Fiscal Year ended
January 31, 2024) at 57 (last visited May 15, 2024).


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Defendant CrowdStrike Holdings, Inc. is the parent of and directly and wholly owns Defendant

CrowdStrike, Inc.4

          5.         On information and belief, Defendant CrowdStrike, Inc. is a “Delaware corporation

and maintains multiple offices, including an office in Austin.”5 Defendant CrowdStrike, Inc. is

registered with the Secretary of State to conduct business in Texas.

                                      JURISDICTION AND VENUE

          6.         The Court has subject matter jurisdiction over these claims under 28 U.S.C. §§ 1331

and 1338(a) and the patent laws of the United States, 35 U.S.C. § 1 et seq.

          7.         The Court has personal jurisdiction over Defendants because they have their

principal place of business in this District and regularly conduct business in the State of Texas and

in this District. On information and belief, Defendants’ business includes operating systems, using

software, providing services, and/or engaging in activities in Texas and in this District that infringe

one or more claims of the Asserted Patents, as well as inducing and contributing to the direct

infringement of others through acts in this District.

          8.         Defendants have also, directly and through their extensive network of partnerships,

including through local IT service providers, purposefully and voluntarily placed infringing

security software and services including, but not limited to, the Falcon Platform, Falcon Endpoint

Protection, Falcon Exposure Management, Falcon Insight XDR, Falcon ASPM, Threat Graph,

Falcon Counter Adversary Operations, Falcon Next-Gen SIEM, Falcon for Defender, Falcon

Identity Protection, Falcon for IT, Falcon Foundry, Falcon Data Protection, Falcon Prevent, Falcon

Firewall Management, Falcon Adversary OverWatch, Falcon Discover, Falcon Device Control


4
    See id. at 71.
5
 See, e.g., Webroot, Inc. v. CrowdStrike, Inc., Case No. 6:22-cv-00241, Dkt. 59 at 2 (W.D. Tex.
Sept. 7, 2022).


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and Falcon Cloud Security, including prior versions and functionalities that are the same or

essentially the same (collectively, “Falcon Platform” or “Accused Products”) that practice the

methods claimed in the Asserted Patents into the stream of commerce in this District.6

           9.       On information and belief, Defendant CrowdStrike, Inc. has hundreds of employees

in this District—including positions in engineering, sales, marketing, and finance.7

           10.      On information and belief, CrowdStrike’s employees located in this District have

relevant information, including information concerning the products and services Defendants

provide and how those products operate.

           11.      On information and belief, engineers responsible for developing the Accused

Products and knowledgeable about the Accused Products are located in Austin, Texas.8

           12.      On information and belief, Mr. Sean Slaton is a “National Sales Director for SMB

Sales,” is “knowledgeable about CrowdStrike’s sales organization and practices,” and “lives in

Austin and works in CrowdStrike’s Austin Office.”9

           13.      On information and belief, Mr. Greg Ellet is CrowdStrike’s “Vice President of

Marketing,” is “knowledgeable about the marketing” of the Accused Products, and lives “in Bee

Cave near Austin.”10




6
    See https://www.crowdstrike.com/partners/channel-partners/ (last visited May 15, 2024).
7
 See, e.g., Webroot, Inc. v. CrowdStrike, Inc., Case No. 6:22-cv-00241, Dkt. 59 at 1 (W.D. Tex.
Sept. 7, 2022).
8
    Id. at 3-4.
9
    Id. at 4.
10
     Id.


                                                    4
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       14.      On information and belief, CrowdStrike has committed acts of infringement within

this District. For example, on information and belief, CrowdStrike uses the Accused Products in

this District in manners that practice the Asserted Patents.

       15.      On information and belief, Defendants make, use, advertise, offer for sale, and/or

sell endpoint security software (including the Accused Products) and provide security services that

practice the Asserted Patents in the State of Texas and in this District directly and/or through its

partnership with businesses in the State of Texas and in this District.

       16.      On information and belief, Defendants encourage and induce their customers of the

Accused Products to perform the methods claimed in the Asserted Patents.             For example,

CrowdStrike makes its security services available on its website, widely advertises those services,

provides applications that allow partners and users to access those services, provides instructions

for installing and maintaining those products, and provides technical support to users.

       17.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c) and 28

U.S.C. § 1400(b) because, upon information and belief, Defendants have regular and systematic

contacts within this District, have their principal executive offices in this District, and have

committed acts of infringement within this District.

                                  FACTUAL BACKGROUND

   A. GoSecure’s Invention of the Asserted Patents

       18.      GoSecure is a privately held company incorporated in 2004 for the purpose of

developing and commercializing products and services protecting customers from cyberattacks.

       19.      NeuralIQ, the assignee named on the face of the ’697 Patent, was initially founded

in 2004. In 2011, NeuralIQ relaunched as CounterTack, the assignee named on the face of the

’872 Patent. CounterTack acquired GoSecure in 2018 and the company became known as

GoSecure, the assignee of record of both Asserted Patents.


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       20.      Today, GoSecure continues to provide Endpoint Detection and Response (“EDR”)

products and services using the techniques described in the Asserted Patents, including its flagship

Titan® Platform, to customers.

       21.      GoSecure’s predecessor, NeuralIQ, filed U.S. Provisional Application No.

61/358,367 on June 24, 2010 (“Provisional Application”). Both Asserted Patents claim priority to

the Provisional Application.

       22.      At the time, the data security industry was focused on identifying and neutralizing

malware and viruses using intrusion detection systems (IDS) and intrusion protection systems

(IPS) that were predicated on the use of a library of known fingerprints for previously identified

malware. For example, such conventional systems could monitor network traffic (e.g., using low-

level Internet Protocol (IP) data packets) and compare in-bound packets to a library of fingerprints

of malware payloads. Upon detecting a match, the IDS/IPS would be able to take corrective action,

such as by preventing further access to the malware.

       23.      GoSecure, recognizing that attacks would become more sophisticated and that such

conventional antivirus software would no longer be able to protect endpoint computers that were

accessible via the Internet, developed innovative techniques for defending against sophisticated

cyberattacks and obtained over a dozen patents for its technology.

       24.      For example, GoSecure developed innovative techniques for identifying and

responding to so-called “zero-day attacks,” against which then-existing IDS/IPS were ineffective.

GoSecure recognized that zero-day attacks were able to exploit previously unknown security

vulnerabilities, such that there was no malware fingerprint that conventional IDS/IPS could use to

detect and thwart such attacks. Accordingly, GoSecure developed and patented techniques,




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including those described in the Asserted Patents, for identifying unauthorized activities on a

computer system.

   B. CrowdStrike’s Pre-Suit Knowledge of the Asserted Patents

       25.      CrowdStrike was co-founded in or around 2011 by Mr. George Kurtz and Mr.

Dmitri Alperovitch. Before founding CrowdStrike, Mr. Kurtz and Mr. Alperovitch met while they

were both employed by McAfee, Inc. (“McAfee”).

       26.      In the fall of 2010, Mr. Kurtz asked his assistant at McAfee to arrange a visit for

him to GoSecure’s offices in Santa Monica, California, purportedly to engage in a technical

discussion regarding the future of the cybersecurity industry. Over the course of that visit, which

took place in or around November 2010, Mr. Kurtz received detailed technical information about

GoSecure’s innovative EDR technology. Mr. Kurtz was impressed by GoSecure’s technology and

even initially expressed interest in serving on GoSecure’s Board of Directors and assuming a

managerial role at the company.

       27.      However, Mr. Kurtz joined the Board of Bromium, another start-up in the

cybersecurity industry that sought to protect computers through the use of micro-virtualization

isolation techniques and the like. Thereafter, Mr. Kurtz rejected offers from GoSecure to join its

Board, because he believed his role at Bromium would provide a conflict.

       28.      Meanwhile, as part of continued efforts to commercialize its innovative technology,

GoSecure began seeking investment from venture capitalists and continued to look for additional

talented, knowledgeable individuals to serve on its Board of Directors. On September 20, 2011,

one of the venture capital investors in GoSecure introduced another McAfee employee, Mr. Dmitri

Alperovitch, to GoSecure.




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          29.      Following that introduction, Mr. Alperovitch expressed how impressed he was with

GoSecure’s technology, claiming that GoSecure was an extremely interesting opportunity and very

relevant technology for the evolving cyber threat environment. In or around November 2011, Mr.

Alperovitch began serving as a member of GoSecure’s Board of Directors, a position he held until

May 2012.11

          30.      Shortly before accepting a position on GoSecure’s Board of Directors (i.e., in or

around September 2011), Mr. Alperovitch resigned from his role as Vice President, Threat

Research at McAfee. Unbeknownst to GoSecure, Mr. Alperovitch and Mr. Kurtz intended for

CrowdStrike to provide offerings that would compete with GoSecure’s technology.

          31.      To that end, Mr. Alperovitch spent his time on GoSecure’s Board of Directors

gathering information about GoSecure’s technology. Mr. Alperovitch even recommended that

GoSecure hire Mr. Jeremy Gould, an engineer with whom Mr. Alperovitch had worked at McAfee,

to a senior engineering position at GoSecure in or around December 2011.

          32.      Mr. Gould worked at GoSecure for multiple months, during which he had broad

access to GoSecure’s code repository and worked closely with GoSecure’s other engineers.

However, Mr. Gould quickly soured on the opportunity and became vocal about his discontent,

ultimately leaving GoSecure in March 2012, at which point he immediately accepted a position as

a senior engineer at CrowdStrike.

          33.      During his time on GoSecure’s Board of Directors, Mr. Alperovitch attended

numerous Board meetings at which he received detailed information regarding GoSecure’s

technology and patent applications, including regarding the claims of the patent application that

ultimately issued as the ’697 Patent.



11
     Ex. 3 (D. Alperovitch LinkedIn Profile).


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       34.      In or around May 2012—after Mr. Alperovitch had spent six months gathering

confidential information while “serving” on GoSecure’s Board of Directors—GoSecure sensed

there was a conflict of interest and asked Mr. Alperovitch to step down from the Board. While

Mr. Alperovitch attributed his decision to a change in GoSecure’s strategy to move into the

endpoint security market, GoSecure’s strategy had been to move into the endpoint security market

since before Mr. Alperovitch’s first introduction to GoSecure.

       35.      After Mr. Alperovitch left GoSecure, he continued working at CrowdStrike as its

chief technology officer until 2020.

       36.      On information and belief, Mr. Alperovitch and CrowdStrike have known of the

existence of the Asserted Patents since August 11, 2015 (’697 Patent) and April 24, 2018 (’872

Patent).

       37.      Additionally or alternatively, CrowdStrike has been willfully blind regarding the

existence of the Asserted Patents. CrowdStrike closely monitors the technology offerings and

intellectual property of other EDR providers, as evidenced by CrowdStrike’s website, which

advertises comparisons with other companies. 12 On information and belief, to the extent

CrowdStrike did not actually know about the existence of the Asserted Patents, CrowdStrike’s

ignorance was based on its own willful blindness to GoSecure’s foundational EDR technology that

pre-dated CrowdStrike’s incorporation.

       38.      In April 2023, after being sued by OpenText for patent infringement, and

recognizing the foundational nature of GoSecure’s technology, CrowdStrike served a subpoena on

GoSecure related to prior art products and related documentation that GoSecure had sold beginning



12
     https://www.crowdstrike.com/compare/ (last visited May 15, 2024); see also
https://sourceforge.net/software/compare/CrowdStrike-Falcon-vs-GoSecure/ (last visited May 15,
2024).


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as early as April 2013. In its efforts to invalidate the patents asserted against it, CrowdStrike also

cited U.S. Publication No. 2011/0321166, which is a publication of the application that issued as

the ’697 Patent, as a prior art reference in the associated inter partes review on October 31, 2022.

                                  THE ASSERTED PATENTS

   A. U.S. Patent No. 9,954,872

       39.     The ’872 Patent is entitled “System and method for identifying unauthorized

activities on a computer system using a data structure model,” and was issued on April 24, 2018,

to inventors Alen Capalik, David Andrews, and Ben Becker. GoSecure owns the entire right, title,

and interest in and to the ’872 Patent, a copy of which is attached to this Complaint as Exhibit 1.

       40.     Prior to the ’872 Patent, prior art systems suffered significant drawbacks, especially

with respect to protecting networked computers against attacks, unwanted intrusions, and

unauthorized access. ’872 Patent at 1:52-57. Network security systems at the time typically

resorted to a firewall to prevent unauthorized access. Id. at 1:61-63. For example, those prior art

intrusion detection and prevention systems relied on a library of malware fingerprints to detect

attempts to access computer systems without authorization. Id. at 1:63-67. When a connection

was attempted to a network port, such systems would compare the in-bound packets to a library of

fingerprints; if a match was identified, the systems prevented further access. Id. at 2:2-8. But

those systems remained vulnerable to so-called zero-day attacks, where there is no known malware

fingerprint available for detection. Id. at 2:9-17.

       41.     The ’872 Patent discloses and claims a specific and inventive technical solution that

overcomes this particular technological problem in the realm of cyberthreat detection. Id. at 2:27-

31. The invention provides methods for performing behavioral analysis directly on an endpoint

device, using locally-monitored data, to detect, identify, and prevent malicious activities in a way

that existing systems could not. Id. at 2:29-31. Claim 1 of the ’872 Patent includes limitations


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that, alone or in combination, are directed to inventive concepts that were unconventional and not

well-known or routine at the time of the inventions. For example, claim 1 recites “monitoring

activity on the first computer system” and “identifying… an activity source, an activity target, and

an association between the activity source and the activity target,” and “storing… a data structure

that identifies the activity sources, the activity targets, and the associations,: and “transmitting

…information identifying one or more of the activity sources, the activity targets, and the

associations for preventing future attacks” to other computer systems in the network.. Id. at Claim

1.

       42.     Additional claims require limitations that, alone or in combination, are directed to

inventive concepts that also were unconventional and not well-known or routine, such as

“monitoring all activity on the first computer system” (claim 2); “creating, from the stored

information, a fingerprint indicative of the activity on the first computer system” (claim 3);

“graphically displaying at least a subset of the stored activities” (claim 7); “identifying a respective

association between a first activity source and a first activity target as unauthorized, wherein the

first activity target, when associated as a second activity source with a second activity target,

causes unauthorized activities on the second activity target” (claim 10); and “identifying activity

sources that are affected by unauthorized activities” (claim 12) by, for example, “identifying

activity sources that request to execute underprivileged instructions” (claim 14). Unlike the prior

art, which failed to protect against zero-day attacks on networked devices, the ’872 Patent provides

capabilities to identify and transmit to other computers information identifying the zero-day

attacks that have no known malware fingerprints.




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   B. U.S. Patent No. 9,106,697

       43.     The ’697 Patent is entitled “System and method for identifying unauthorized

activities on a computer system using a data structure model,” and was issued on August 11, 2015,

to inventors Alen Capalik, David Andrews, and Ben Becker. GoSecure owns the entire right, title,

and interest in and to the ’697 Patent, a copy of which is attached to this Complaint as Exhibit 2.

       44.     The ’697 Patent also provides techniques for protecting devices against zero-day

unauthorized activities and discloses and claims a technical solution that overcomes a specific

technological problem in the realm of cyberthreat detection. Claim 1 of the ’697 Patent includes

limitations that, alone or in combination, are directed to inventive concepts that were

unconventional and not well-known or routine at the time of the inventions. For example, claim

1 recites a computer-implemented method that includes “identifying a plurality of activities being

performed at the virtual machine, wherein each of the activities include an activity source, an

activity target, and an association between the activity source and the activity target” and “creating,

from the stored activities, a fingerprint indicative of the activity on the virtual machine” and

“transmitting the fingerprint” to other devices. ’697 Patent at Claim 1. Additional claims require

limitations that, alone or in combination, are directed to inventive concepts that also were

unconventional and not well-known or routine, such as “monitoring all activity on the virtual

machine, and all activity on the virtual machine is assumed to be unauthorized” (claim 2);

“identifying a respective association between a first activity source and a first activity target as

unauthorized, wherein the first activity target, when associated as a second activity source with a

second activity target, causes unauthorized activities on the second activity target” (claim 11); and

“identifying a type of the association between the activity source and the activity target” (claim




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22). Unlike the prior art, which failed to protect zero-day attacks on virtual machines, the ’697

Patent advantageously provides efficient and comprehensive detection and protection.

                           CLAIMS FOR PATENT INFRINGEMENT

          45.    CrowdStrike makes, offers, sells, and uses multiple products that provide and

implement malware detection, endpoint protection, and cloud security solutions for individuals

and enterprises, each of which incorporate GoSecure’s patented technologies without

authorization.

          46.    For example, CrowdStrike’s Falcon Platform is a cloud-based endpoint protection

platform that integrates anti-malware technologies, risk management, and attack forensics to

protect remotely connected computers.13

          47.    CrowdStrike instructs its customers to install the Falcon Platform by downloading

the Falcon agent to one or more endpoint devices, which can be things like workstations, desktops,

laptops, and other traditional end user computer devices, servers, virtual machines, cloud

containers, cloud networks, mobile computer devices such as smartphones, and Internet of Things

devices.14

          48.    As shown in the figure below, CrowdStrike’s Falcon Platform includes multiple

modules that operate both on endpoint devices and through the cloud using the Falcon agent.15

These modules are part of and can be added to the base Falcon Platform. Examples of these

modules are discussed further below.




13
     See https://www.crowdstrike.com/products/ (last visited May 15, 2024).
14
  See https://www.crowdstrike.com/blog/tech-center/install-falcon-sensor/ (last visited May 15,
2024).
15
     See https://www.crowdstrike.com/platform/ (last visited May 15, 2024).


                                                13
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          49.    By way of example, CrowdStrike’s Falcon Insight XDR is an endpoint detection

and response solution, providing continuous monitoring of endpoint activity and detection,

response, and forensics to suspicious activity and malware attacks.16

          50.    Falcon Prevent is a cloud-native Next Generation Antivirus (“NGAV”) software

solution that detects and prevents known and unknown malware using tools including machine

learning, artificial intelligence, and behavior-based indicators of attack (“IOA”).17

          51.    Falcon Firewall Management is a software solution that creates, enforces, and

maintains firewall rules and policies.18




16
     See https://www.crowdstrike.com/platform/endpoint-security/ (last visited May 15, 2024).
17
  See https://www.crowdstrike.com/products/endpoint-security/falcon-prevent-antivirus/ (last
visited May 15, 2024).
18
   See https://www.crowdstrike.com/products/endpoint-security/falcon-firewall-management/
(last visited May 15, 2024).


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          52.    CrowdStrike Threat Graph is the cloud-based “brains behind the Falcon endpoint

protection platform.” CrowdStrike Threat Graph captures, enriches, analyzes, and stores data from

endpoint devices.19

          53.    CrowdStrike’s Falcon Counter Adversary Operations is a threat intelligence

software solution, including Falcon Adversary OverWatch, Falcon Adversary Intelligence, and

Falcon Adversary Intelligence Premium.20

          54.    CrowdStrike’s Falcon Cloud Security is a solution for cloud detection and response.

The solution includes, but is not limited to, Falcon Cloud Security Posture Management. Under

this solution, CrowdStrike partners with cloud ecosystems such as Amazon Web Services, Google

Cloud, and Microsoft’s Azure.21

          55.    The allegations provided below are exemplary and without prejudice to GoSecure’s

infringement contentions with respect to the Accused Products.

          56.    As detailed below, each element of at least one claim of each of the Asserted Patents

is literally present in the Accused Products. To the extent that any element is not literally present

or practiced, each such element is present or practiced under the doctrine of equivalents.

                                            COUNT I
                                  Infringement of the ’872 Patent

          57.    GoSecure realleges and incorporates by reference the allegations set forth in the

preceding paragraphs of this Complaint.




19
 See https://www.crowdstrike.com/wp-content/uploads/2020/03/threat-graph.pdf (last visited
May 15, 2024).
20
     See https://www.crowdstrike.com/platform/threat-intelligence/ (last visited May 15, 2024).
21
     See https://www.crowdstrike.com/platform/cloud-security/ (last visited May 15, 2024).


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           58.   CrowdStrike has infringed and continues to infringe one or more claims of the ’872

Patent in violation of 35 U.S.C. § 271(a) by, among other things, its making, testing, and using the

Accused Products in the United States, including in this District without the permission, consent,

authorization, or license of GoSecure. The Accused Products, at least when used for their ordinary

and customary purposes, practice each element of at least claim 1 of the ’872 Patent.

           59.   For example, on information and belief, CrowdStrike performs the claimed method

in the United States in an infringing manner as described herein by using the Accused Products to

protect its own computer and network operations.

           60.   On information and belief, CrowdStrike also performs the claimed method in an

infringing manner in the United States when testing the Accused Products and corresponding

systems and/or when providing or administering services to third parties, customers, and partners

using the Accused Products.

           61.   The Accused Products, when used for their ordinary and customary purpose, meet

all the limitations of at least claim 1 of the ’872 Patent. Specifically, claim 1 of the ’872 Patent

recites:

                 1.     A computer implemented method of identifying
                 unauthorized activities on a first computer system attached to a
                 computer network, wherein the first computer system comprises one
                 or more processors and memory, the method comprising:

                 monitoring activity on the first computer system;

                 identifying a plurality of activities being performed at the first
                 computer system, wherein each of the activities includes an activity
                 source, an activity target, and an association between the activity
                 source and the activity target;

                 storing in the memory a data structure that identifies the activity
                 sources, the activity targets, and the associations for the plurality of
                 activities; and




                                                   16
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               transmitting to one or more computer systems other than the first
               computer system information identifying one or more of the activity
               sources, the activity targets, and the associations for preventing
               future attacks, to the one or more computer systems, associated with
               the one or more of the activity sources, the activity targets, and the
               associations.

       62.     The Accused Products perform the computer-implemented method of claim 1 of

the ’872 Patent because they identify unauthorized activities on a first computer system attached

to a computer network, wherein the first computer system comprises one or more processors and

memory, as claimed. For example, the Falcon Platform includes an “intelligent, lightweight

CrowdStrike Falcon sensor, unlike any other, [that] blocks attacks on your systems while capturing

and recording activity as it happens to detect the threats fast.”22




       63.     The computer system is attached to a computer network, as “[t]he Falcon platform

is 100% cloud-based and doesn’t require hardware, additional software, or configurations.”23




22
   See https://www.crowdstrike.com/products/trials/try-falcon-prevent/ (last visited May 15,
2024).
23
   Id.



                                                  17
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           64.   The method performed by the Accused Products includes monitoring activity on

the first computer system. For example, “[t]he Falcon agent is constantly monitoring and

recording endpoint activity.” 24 Specifically, the data monitored includes “things like process

execution, network connections, file system activity, user information, service details, script

activity and admin tool usage.”25




24
  See https://www.crowdstrike.com/blog/tech-center/hunt-threat-activity-falcon-endpoint-
protection/ (last visited May 15, 2024).
25
     Id.


                                              18
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       65.     Through its use of the Accused Products, CrowdStrike “tracks hundreds of different

security-related events, such as process creation, drivers loading, registry modifications, disk

access, memory access or network connections.”26




       66.     The method performed by the Accused Products includes identifying a plurality of

activities being performed at the first computer system, wherein each of the activities includes an

activity source, an activity target, and an association between the activity source and the activity

target. For example, the Accused Products identify an activity source, activity target, and

association, as shown in the example figures below.




                                                                                                  27




26
  See https://www.crowdstrike.com/cybersecurity-101/endpoint-security/endpoint-detection-
and-response-edr/ (last visited May 15, 2024).
27
  See https://www.youtube.com/watch?v=tgryLPiVGLE (screenshot at 4:45) (last visited May
15, 2024).


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                                                                                                    28


       67.     The method performed by the Accused Products includes storing in the memory a

data structure that identifies the activity sources, the activity targets, and the associations for the

plurality of activities. For example, “[t]he beauty of the Falcon sensor is all data is recorded on

the endpoint from an activity perspective.”29




28
  See https://www.crowdstrike.com/blog/blocking-fileless-script-based-attacks-using-falcon-
script-control-feature/ (last visited May 15, 2024).
29
  See https://www.crowdstrike.com/resources/videos/perform-simple-machine-search-
crowdstrike-falcon-investigate-app/ (screenshot of transcript) (last visited May 15, 2024).


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       68.     Additionally, when the Accused Products have no internet connection, “the Falcon

agent will protect the system and event details will be cached on the endpoint until connectivity is

re-established.”30




       69.     The method performed by the Accused Products includes transmitting to one or

more computer systems other than the first computer system information identifying one or more

of the activity sources, the activity targets, and the associations for preventing future attacks, to

the one or more computer systems, associated with the one or more of the activity sources, the

activity targets, and the associations. The Accused Products transmit the collected information




30
  See https://www.crowdstrike.com/blog/tech-center/offline-protection/ (last visited May 15,
2024).


                                                 21
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(including the activity sources, targets, and associations) to other computer systems, as shown in

the figure below.31




        70.      As another example, the Falcon Threat Graph “continuously ingests, contextualizes

and enriches high-fidelity telemetry on trillions of security events across endpoints, workloads,

identities.”32




31
  See https://www.crowdstrike.com/cybersecurity-101/endpoint-security/endpoint-detection-
and-response-edr/ (last visited May 15, 2024).
32
  See https://www.delltechnologies.com/asset/en-us/solutions/business-solutions/technical-
support/crowdstrike-threat-graph-datasheet.pdf (last visited May 15, 2024).


                                                22
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       71.     The Accused Products, when used for their ordinary and customary purpose,

additionally meet all the limitations of various dependent claims of the ’872 Patent. For example,

claims 2, 3, 7, 10, 12, and 14 of the ’872 Patent recite:

               2.    The method of claim 1, wherein the monitoring further
               comprises monitoring all activity on the first computer system.

               3.      The method of claim 1, further comprising:

               creating, from the stored information, a fingerprint indicative of the
               activity on the first computer system.

               7.      The method of claim 1, further comprising:

               graphically displaying at least a subset of the stored activities.

               10.     The method of claim 1, further comprising:

               identifying a respective association between a first activity source
               and a first activity target as unauthorized, wherein the first activity
               target, when associated as a second activity source with a second
               activity target, causes unauthorized activities on the second activity
               target.

               12.     The method of claim 1, further comprising:

               identifying activity sources that are affected by unauthorized
               activities.

               14.     The method of claim 12, wherein:

               instructions executed by the one or more processors have respective
               privilege levels;

               respective activity sources have respective privilege levels; and

               the identifying activity sources that are affected by unauthorized
               activities includes identifying activity sources that request to
               execute underprivileged instructions.

       72.     The Accused Products perform the computer-implemented method of claim 2 of

the ’872 Patent because they monitor all activity on the computer system. For example, “[Falcon]

Insight continuously monitors all endpoint activity and analyzes the data in real time to



                                                 23
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automatically identify threat activity, enabling it to both detect and prevent advanced threats as

they happen.”33




       73.     The Accused Products perform the computer-implemented method of claim 3 of

the ’872 Patent because they create, from the stored information, a fingerprint indicative of the

activity on the first computer system.     For example, the Falcon Platform uses the stored

information to generate indicators of compromise (“IOCs”), or hashes, that can be used for future

detection.34




33
  See https://www.crowdstrike.com/resources/data-sheets/falcon-insight-xdr/ (last visited May
15, 2024).
34
  See https://www.crowdstrike.com/blog/blocking-fileless-script-based-attacks-using-falcon-
script-control-feature/ (last visited May 15, 2024).


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        74.     The Accused Products perform the computer-implemented method of claim 7 of

the ’872 Patent because they graphically display at least a subset of the stored activities. For

example, the Falcon Platform graphically displays to users the activity it identified and recorded.35




        75.     The Accused Products perform the computer-implemented method of claim 10 of

the ’872 Patent because they identify a respective association between a first activity source and a

first activity target as unauthorized, wherein the first activity target, when associated as a second

activity source with a second activity target, causes unauthorized activities on the second activity

target.36




35
   See
https://www.youtube.com/watch?v=4B4a5FQZ8dE&list=PLtojL19AteZv3oYq8_jD_0J5vNvxd
GDDs&t=20s (screenshot at 0:35) (last visited May 15, 2024).
36
 See https://www.crowdstrike.com/products/cloud-security/cloud-security-posture-
management-cspm/ (last visited May 15, 2024).


                                                 25
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       76.     The Accused Products perform the computer-implemented method of claims 12

and 14 of the ’872 Patent because they identify activity sources that are affected by unauthorized

activities, and instructions executed by the one or more processors have respective privilege levels,

the respective activity sources have respective privilege levels, and the identifying activity sources

that are affected by unauthorized activities includes identifying activity sources that request to

execute underprivileged instructions.      For example, “CrowdStrike Falcon® Identity Threat

Protection gives you deep visibility into the scope and the impact of access privileges for your user

identities across Microsoft Active Directory (AD) and Azure AD.”37




37
   See https://www.crowdstrike.com/cybersecurity-101/what-is-privileged-access-management/
(last visited May 15, 2024).


                                                 26
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       77.     In addition to directly infringing the ’872 Patent, as discussed above, CrowdStrike

knew or was willfully blind to the fact that it was inducing infringement of at least claim 1 of the

’872 Patent under 35 U.S.C. § 271(b) by instructing, encouraging, directing, and requiring third

parties to directly infringe by performing the method of at least claim 1 in the United States.

CrowdStrike instructs its customers regarding how to install and operate the Accused Products in

an infringing manner, including by providing user guides and customer support.

       78.     As discussed above, CrowdStrike, by and through at least Mr. Alperovitch, knew

about GoSecure’s patented technology by no later than February 2012. On information and belief,

CrowdStrike knew about (or was willfully blind to) the ’872 Patent by no later than April 24, 2018,

i.e., its date of issuance. CrowdStrike further knows about the ’872 Patent from its receipt of this

Complaint.

       79.     CrowdStrike is also liable for contributory infringement of at least claim 1 of the

’872 Patent under 35 U.S.C. § 271(c) by knowing or being willfully blind to the fact that it was

contributing to infringement by providing to its customers and offering to sell and selling in the

United States the Accused Products.


                                                27
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         80.   The Accused Products are software that perform the method of at least claim 1 of

the ’872 Patent when installed on a computer device having at least one processor and memory

and are not a staple article or commodity of commerce suitable for substantial noninfringing use.

Specifically, as described above, the Accused Products infringe the computer-implemented

method of claim 1 when they are installed on a compatible computer containing a processor and

memory and used for their intended purpose within the United States.

         81.   CrowdStrike has known of the existence of the ’872 Patent, and its acts of

infringement have been knowing, intentional, and willful (or willfully blind) and in disregard for

the ’872 Patent, without any reasonable basis for believing that it had a right to engage in the

infringing conduct.

         82.   CrowdStrike’s acts of infringement of the ’872 Patent have injured and continue to

injure GoSecure in an amount to be proven at trial, but not less than a reasonable royalty. GoSecure

has suffered and continues to suffer damages, including lost profits, as a result of CrowdStrike’s

infringement of the ’872 Patent.

         83.   CrowdStrike’s infringement has caused and is continuing to cause damage and

irreparable harm to GoSecure, and GoSecure will continue to suffer damage and irreparable harm

unless and until that infringement is enjoined by this Court.

         84.   This case is exceptional and, therefore, GoSecure is entitled to an award of

increased damages under 35 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C.

§ 285.

                                         COUNT II
                                Infringement of the ’697 Patent

         85.   GoSecure realleges and incorporates by reference the allegations set forth in the

preceding paragraphs of this Complaint.



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       86.     CrowdStrike has infringed and continues to infringe one or more claims of the ’697

Patent in violation of 35 U.S.C. § 271(a) by, among other things, its making, testing, and using the

Accused Products in the United States, including in this District without the permission, consent,

authorization, or license of GoSecure. The Accused Products, at least when used for their ordinary

and customary purposes, practice each element of at least claim 1 of the ’697 Patent.

       87.     For example, on information and belief, CrowdStrike performs the claimed method

in an infringing manner as described herein by using the Accused Products in the United States to

protect its own computer and network operations.

       88.     On information and belief, CrowdStrike also performs the claimed method in an

infringing manner when testing the Accused Products and corresponding systems in the United

States and/or when providing or administering services to third parties, customers, and partners

using the Accused Products in the United States.

       89.     The Accused Products meet all the limitations of at least claim 1 of the ’697 Patent.

Specifically, claim 1 of the ’697 Patent recites:

               1.     A computer implemented method of identifying
               unauthorized activities on a decoy computer system attached to a
               computer network, wherein the decoy system comprises:

               one or more processors; and memory storing: a virtual machine; and
               a virtual machine monitor supervising the virtual machine, the
               method comprising, at the virtual machine monitor:

               monitoring activity on the virtual machine;

               identifying a plurality of activities being performed at the virtual
               machine, wherein each of the activities includes an activity source,
               an activity target, and an association between the activity source and
               the activity target;

               storing in the memory the activity sources, activity targets, and
               associations;




                                                    29
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               creating, from the stored activities, a fingerprint indicative of the
               activity on the virtual machine; and

               transmitting the fingerprint to prevent future attacks that comprise
               the same or similar activities as indicated by the fingerprint.

       90.     The Accused Products perform the computer-implemented method of claim 1 of

the ’697 Patent because they identify unauthorized activities on a computer system attached to a

computer network. For example, Falcon Cloud Security for Azure “[g]athers metadata at the

Azure virtual machine level to easily identify owners of resources involved in an alert,” and

“[c]ontinuously monitors events to provide visibility into workload activities, including activities

running inside containers.”38




       91.     The Accused Products identify unauthorized activities as they provide

“[c]omprehensive visibility into Azure workload events and virtual machine metadata enables




38
  See https://www.crowdstrike.com/products/cloud-security/falcon-for-azure/ (last visited May
15, 2024).


                                                30
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detection, response, proactive threat hunting and investigation, to ensure that nothing goes unseen

in your cloud environments.”39




           92.   The computer-implemented method performed by the Accused Products includes

the use of one or more processors and memory storing a virtual machine and a virtual machine

monitor supervising the virtual machine. For example, the Accused Products “[p]rovide[] insight

into your Azure virtual machine footprint, so you can secure all workloads, uncover and mitigate

risks, and reduce the attack surface.”40




39
     Id.
40
     Id.


                                                31
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       93.     In addition, the Accused Products include “hypervisors,” which are also known as

virtual machine monitors that are used to supervise virtual machines.41




       94.     The method performed by the Accused Products includes monitoring activity on

the virtual machine. For example, as described above, the Accused Products “[c]ontinuously



41
  See https://www.crowdstrike.com/cybersecurity-101/observability/hypervisors-vmm/ (last
visited May 15, 2024).


                                               32
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monitor[] events to provide visibility into workload activities, including activities running inside

containers; a full set of enriched data and event details enables investigations against ephemeral

and decommissioned workloads.”42

       95.     As another example of infringing activity performed by the Accused Products,

Falcon Horizon, which is CrowdStrike’s Falcon Cloud Security Posture Management solution,

“monitors rapidly growing public cloud environments to help organizations proactively identify

and resolve potential issues.”43




       96.     The method performed by the Accused Products includes identifying a plurality of

activities being performed at the virtual machine, wherein each of the activities includes an activity


42
  See https://www.crowdstrike.com/products/cloud-security/falcon-for-azure/ (last visited May
15, 2024).
43
  See https://www.crowdstrike.com/blog/tech-center/monitor-virtual-machine/ (last visited May
15, 2024).


                                                 33
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source, an activity target, and an association between the activity source and the activity target.

By way of example, the figure below demonstrates the activity source, activity target, and

association that are identified.44




        97.     The method performed by the Accused Products includes storing in the memory

the activity sources, activity targets, and associations. In order for the Accused Products to operate,

they must store the identified activities in memory, as the virtual machine and the virtual machine

monitor are themselves stored in the memory.

        98.     The method performed by the Accused Products includes creating, from the stored

activities, a fingerprint indicative of the activity on the virtual machine. For example, Falcon

Cloud Security may detect based on “indicators of attack (IOAs)” and “indicators of




44
  See https://www.crowdstrike.com/products/cloud-security/cloud-security-posture-management-
cspm/ (screenshot at 0:37) (last visited May 15, 2024).


                                                  34
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misconfiguration (IOMs),” which are policies for detection that will generate IDs for the particular

incident.45




       99.     As shown in the figure below, the “Cloud IOMs” (i.e., indicators of

misconfiguration) generates identifiers (e.g., fingerprints) that can identify the particular activity

on the virtual machine.46


45
  See https://www.crowdstrike.com/blog/how-crowdstrike-detects-cloud-storage-
misconfigurations/ (last visited May 15, 2024).
46
 See https://www.crowdstrike.com/products/cloud-security/cloud-security-posture-
management-cspm/ (screenshot at 1:10) (last visited May 15, 2024).


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       100.    The method performed by the Accused Products includes transmitting the

fingerprint to prevent future attacks that comprise the same or similar activities as indicated by the

fingerprint. For example, Falcon Cloud Security “provides real-time threat intelligence on 200+

adversary groups, indicators of attack (IOA) and indicators of misconfiguration (IOMs), enabling

teams to respond faster and stop breaches.”47 The Accused Products transmit the fingerprint so

that Falcon Cloud Security has on record large numbers of indicators of misconfigurations, which

helps to prevent future attacks.




47
 See https://www.crowdstrike.com/products/cloud-security/cloud-security-posture-
management-cspm/ (last visited May 15, 2024).


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       101.   Similarly, the Accused Products maintain “the largest threat intelligence database

and behavior base TTP/IOA across the entire cloud estate to stop breaches.”48




48
 See https://www.crowdstrike.com/products/cloud-security/cloud-security-posture-
management-cspm/ (last visited May 15, 2024).


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       102.    The Accused Products, when used for their ordinary and customary purpose,

additionally meet all the limitations of various dependent claims of the ’697 Patent. For example,

claims 2, 11, and 22 of the ’697 Patent recite:

               2.      The method of claim 1, wherein the monitoring further
               comprises monitoring all activity on the virtual machine, and all
               activity on the virtual machine is assumed to be unauthorized.

               11.      The method of claim 1, further comprising identifying a
               respective association between a first activity source and a first
               activity target as unauthorized, wherein the first activity target,
               when associated as a second activity source with a second activity
               target, causes unauthorized activities on the second activity target.

               22.     The method of claim 1, further comprising:

               identifying a type of the association between the activity source and
               the activity target.


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        103.    The Accused Products perform the computer-implemented method of claim 2 of

the ’697 Patent because they monitor all activity on the virtual machine, and all activity on the

virtual machine is assumed to be unauthorized. For example, “[a]ll activity logs for the resource

group Azure_Monitoring are collected in this workspace. You can see the event type, name, and

user who initiated this event. This information is essential to keep track of all user activity in the

Azure portal.”49




        104.    The Accused Products perform the computer-implemented method of claim 11 of

the ’697 Patent because they identify a respective association between a first activity source and a

first activity target as unauthorized, wherein the first activity target, when associated as a second

activity source with a second activity target, causes unauthorized activities on the second activity

target.50




49
  See https://www.crowdstrike.com/guides/azure-logging/advanced-concepts/ (last visited May
15, 2024).
50
 See https://www.crowdstrike.com/products/cloud-security/cloud-security-posture-
management-cspm/ (last visited May 15, 2024).


                                                 39
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       105.    The Accused Products perform the computer-implemented method of claim 22 of

the ’697 Patent because they identify a type of the association between the activity source and the

activity target. For example, the Accused Products identify that the following association between

the activity source and the activity target to have a “High” severity level.51




51
 See https://www.crowdstrike.com/products/cloud-security/cloud-security-posture-
management-cspm/ (screenshot at 1:10) (last visited May 15, 2024).


                                                 40
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       106.    In addition to directly infringing the ’697 Patent, as discussed above, CrowdStrike

knew or was willfully blind to the fact that it was inducing infringement of at least claim 1 of the

’697 Patent under 35 U.S.C. § 271(b) by instructing, encouraging, directing, and requiring third

parties to directly infringe by performing the method of at least claim 1 in the United States.

       107.    As discussed above, CrowdStrike, by and through at least Mr. Alperovitch, knew

about GoSecure’s patented technology by no later than February 2012. On information and belief,

CrowdStrike knew about or was willfully blind to the ’697 Patent by no later than August 11,

2015, i.e., its date of issuance. Additionally, on information and belief, CrowdStrike knew about

or was willfully blind to the ’697 Patent as of October 31, 2022, when CrowdStrike cited U.S.

Publication No. 2011/0321166 as a prior art reference in inter partes reviews against OpenText.

CrowdStrike further knows about the ’697 Patent from its receipt of this Complaint.

       108.    CrowdStrike is also liable for contributory infringement of at least claim 1 of the

’697 Patent under 35 U.S.C. § 271(c) by knowing or being willfully blind to the fact that it was




                                                41
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contributing to infringement by providing to its customers and offering to sell and selling in the

United States the Accused Products.

         109.   The Accused Products are software that perform the method of at least claim 1 of

the ’697 Patent when installed on a computer device having at least one processor and memory

and are not a staple article or commodity of commerce suitable for substantial noninfringing use.

Specifically, as described above, the Accused Products infringe the computer-implemented

method of claim 1 when they are installed on a compatible computer containing a processor and

memory and used for their ordinary and customary purpose.

         110.   CrowdStrike has known of the existence of the ’697 Patent, and its acts of

infringement have been knowing, intentional, and willful (or willfully blind) and in disregard for

the ’697 Patent, without any reasonable basis for believing that it had a right to engage in the

infringing conduct.

         111.   CrowdStrike’s acts of infringement of the ’697 Patent have injured and continue to

injure GoSecure in an amount to be proven at trial, but not less than a reasonable royalty. GoSecure

has suffered and continues to suffer damages, including lost profits, as a result of CrowdStrike’s

infringement of the ’697 Patent.

         112.   CrowdStrike’s infringement has caused and is continuing to cause damage and

irreparable harm to GoSecure, and GoSecure will continue to suffer damage and irreparable harm

unless and until that infringement is enjoined by this Court.

         113.   This case is exceptional and, therefore, GoSecure is entitled to an award of

increased damages under 35 U.S.C. § 284, and attorney’s fees and costs incurred under 35 U.S.C.

§ 285.

                                          JURY DEMAND

         114.   GoSecure demands a jury trial as to all issues that are triable by a jury in this action.


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                                     PRAYER FOR RELIEF

       WHEREFORE, GoSecure respectfully prays for relief as follows:

       A.       Judgment that Defendants are liable for direct infringement, and/or inducing the

infringement, and/or contributing to the infringement of one or more claims of each of the

Asserted Patents;

       B.       An Order preliminarily and permanently enjoining Defendants and their

respective officers, agents, employees, and those in privity or in active concert or participation

with them, from further infringement of the Asserted Patents;
       C.       Compensatory damages in an amount according to proof, including lost profits,

and in any event no less than a reasonable royalty;

       D.       Increased damages under 35 U.S.C. § 284;

       E.       Pre-judgment interest;

       F.       Post-judgment interest;

       G.       Attorneys’ fees based on this being an exceptional case pursuant to 35 U.S.C. §

285, including pre-judgment interest on such fees;

       H.       An accounting and/or supplemental damages for all damages incurred by

Plaintiff from six years prior to the date this lawsuit was filed through entry of a final, non-

appealable judgment;

       I.       If this Court declines to enjoin Defendants from infringing any of the Asserted

Patents, damages for future infringement in lieu of an injunction; and

       J.       Any further relief that the Court deems just and proper.




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DATED: May 16, 2024                Respectfully submitted,

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